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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION



                                                  §
                                                  §
RUSSELL, et al,                                   §
      Plaintiffs,                                 §
                                                  §
V.                                                §                      Case No. 4:19-cv-00226
                                                  §                           (Class Action)
HARRIS COUNTY,                                    §
TEXAS, et al,                                     §
      Defendants.                                 §
                                                  §




                  DECLARATION OF PLANO POLICE CHIEF ED DRAIN



     1. My name is Ed Drain. I started my law enforcement career in 1994 with the Plano Police
        Department. I worked through the ranks and was appointed Assistant Chief in 2006. From
        June 2015 to September 2015, I served as the Interim Police Chief for the Murphy Police
        Department, while still employed by the City of Plano. In October 2016, I was appointed
        as the Police Chief for the Amarillo Police Department. In October 2020, I returned to
        Plano as the Police Chief.

     2. I lead a department of 414 sworn law enforcement officers and 257 civilian support
        personnel. My job duties consist of leading the department to accomplish our mission
        statement of providing outstanding police services, in partnership with the community, to
        maintain a safe environment that contributes to the quality oflife.

     3. It is my understanding that the Plaintiffs in this lawsuit are seeking an order releasing over
        4,000 felons from the Harris County Jail.

     4. Based on my training, experience, and understanding of the current circumstances on the
        ground throughout the State, I believe that such releases would strain the already limited
        law enforcement resources and pose a danger to Texans.




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   5. This pandemic is like nothing we have ever seen before but releasing potentially dangerous
      felons cannot serve the public at large.

   6. I believe if released, these felons would endanger their communities that stretch the limited
      resources of police departments, putting a bigger strain on the community and the State as
      a whole as there would not be a requirement that the released prisoners remain in Houston
      after their release.

   7. Even the release of "non-violent" offenders would endanger our communities. Burglaries
      are violent invasions of people's homes to steal from or assault the owner. With "shelter in
      place" orders and people being in their homes, the likelihood of violence and confrontation
      is increased. Additionally, scams related to the pandemic are on the rise, and the release of
      identity thieves would only further escalate a growing problem.

   8. Organized criminal elements form the Harris County area are frequently engaged in illegal
      activity in other jurisdictions hundreds of miles from Harris County. For approximately the
      last ten years, numerous Asians residents in the City of Plano, have been victimized by an
      organized criminal element who specialize in burglarizing homes of Asians. In cases where
      we have been able to arrest suspects involved in these crimes, we usually can trace their
      origins to the Harris County area.

       Over approximately the last five years, we have seen an increase in criminal activity that
       involves criminals identifying bank customers who have made large cash withdrawals. The
       criminals follow the victim's vehicle and steal the cash whenever the customer makes a
       stop. This criminal activity is referred to as "jugging". We consistently discover suspects
       we arrest for these offenses are from the Harris County area.

       During the time I served as the Police Chief in Amarillo, almost all suspects we arrested
       involved in placing skimmers on gas pumps to steal victims' credit/debit card information,
       were from the Harris County area.

   9. Harris County has the largest county jail in the state. A mass release of felons without an
      individual assessment by a judge evaluating the risks posed to public safety and security
      would put communities in Harris County and other jurisdictions across the state in grave
      danger and must be prevented

I declare under penalty of perjury that the foregoing statements are true and correct to the best of
my ability.



Signature:     ~~
             Ed Drain
             Chief of Police
             Plano, Texas




                                           EXHIBIT 13
